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EXHIBIT A

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THE HONORABLE JAMES L. ROBART

UNITED STATES DISTRICT COURT
WESTERN DISTRlCT OF WASHINGTON

SANDRA L. PALMER,
Plaintiff,

V.

SPRlNT SOLUTIONS, INC.

Defendant.

AT SEATTLE

No. 09-cv-(}1211 JLR
SETTLEMENT AGREEMENT

 

 

 

SETTLEMENT AGREEMENT
(NO. 09-cv-01211 JLR)

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Seattle, WA 98101-3099
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WHEREAS Plaintiff Sandra L. Palmer ("Plaintift") has filed this Action on behalf of
herself and as representative of the Classes as defined below, and Defendant Sprint Solutions,
Inc. ("Defendant" or "Sprint") denies each and every allegation and all charges of wrongdoing or
liability of any kind whatsoever asserted or which could have been asserted in this Action; and

WHEREAS Plaintiff and Det`endant have agreed to a compromise of all claims that have
been or could have been asserted in this Action;

NOW, THEREFORE, Plaintiff and Defendant enter into this Settlement Agreement,
subject to approval by the Court and entry of a Final Order and Judgment directing

implementation of the terms and conditions of this Settlement Agreement.

I. DEFINITIONS

1.1 "Accounting" means a detailed Written account that the Claims Administrator
shall maintain at all times to reilect, separately for each sub-account that may be established and
in the aggregate: (l) the principal amount that Sprint deposits into the Common Fund; (2) any
interest earned on the Cornmon Fund; (3) the authorized fees and expenses (including legal
expenses and claims administration fees) paid, assessed, or debited pursuant to this Settlement
Agreement; (4) the amounts transferred or disbursed from the Common Fund as described in
Section X; (5) the total number of claims submitted; and (6) the total amount of valid claims

1.2 "Action " means the civil action Smrdm L. Palmer v. Sprr'nr Solutions, h:c., Casc
No. 09-cv-01211 JLR, which is now pending in the U.S. District Court for the Western District
of Washington in front of the Honorable J ames L. Robart.

].3 "Attorneys' Fees and Costs Award" means the amount of attorneys fees,
litigation expenses, and costs awarded by the Court to Class Counsel out of the Common Fund in

response to a motion by Class Counsel for attorneys' fees, expenscs, and costs. This award is

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included under the Common Fund, is not a separate award, and shall not exceed 30% of the
Common Fund.

1.4 "Automatic Dialing and Announcing Device" means the same device as
defined under RCW 80.36.400(])(a), which is a device that automatically dials telephone
numbers and plays a recorded message once a connection is madc.

1.5 "CAFA Notification" means the notification of this proposed class action
settlement required under the Class Action Fairness Act, 28 U.S.C. §§ l'?i$(a)(i)-(Z), (b).

1.6 "Claim Form and Release" or "Claim Fcrm“ means the form materially
identical to the attached Exhibit l.

1.7 "Claims Administration Costs“ means those costs reasonably necessary to
administer ciaims and effect the Claims Procedure.

1.8 "Claims Administrator" means the Garden City Group, which was selected by
the Parties (defmed beiow) to administer the Notice Procedures and the Claims Procedures in
Sections VII and X below.

1.9 "Claims I)eadline" means 30 days after the date set by the Court for the Final
Settiement Hearing when the Court enters the Preliminaiy Approvai and Scheduling Order.

1.10 "Claims Procedures" means the procedures in Section X below.

1.11 "Class" or "Classes" means and includes the three subclasses specified below:

a. Individual, non-government, and non-business Sprint customers from
July 23, 2005 to the date the Court grants preliminary approval of this
settlement who, while Sprint customers, resided in Washington State
and received from Sprint directly or from its agents one or more
commercial telephone solicitations that used an automatic dialing and
announcing device. This subclass does not include Sprint employees

b. Individual, non-government, and non-business Sprint customers from
.iuly 23, 2005 to the date the Court grants pl'eiiminary approval of this
settlement who, While Sprint customers, resided in Washington State
and received from Sprint directly or from its agents one or more
commercial telephone solicitations less than one year after advising

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Sprint or its agent that he or she did not wish to be called again by
Sprint. This subciass does not include Sprint cmpioyees.

o. Individuai, non-government, and non-business Sprint customers from
Juiy 23, 2005 to the date the Court grants preliminary approval of this
settlement who, while Sprint customers, resided in the Unitcd States
and received from Sprint directly or from its agents one or more
commercial telephone solicitations more than 30 days after making a
Sprint-speciiic internal Do Not Call request by advising Sprint or its
agent that he or she did not wish to be called again by Sprint. This
subclass does not include Sprint employees.

1.12 "Class Claimant" or "Class Claimallts" means a member or members of the
Classes who did not timely and validly request exciusion from the Classes and who file(s) a
properly completed and signed Claim Form either online or postmarked no later than the Ciaims
Deadiine.

1.13 "Class Counsel" means the law firm of` Williamson &, Wiiliams.

1.14 "Class Exclusion" means the process described in paragraph 7.4.

I.]S "Class Mernber" or "Member of the Class" means a Person within one or more
of the Classes.

1.16 "Class Representative" means Plaintiff Sandra L. Palmer in her individual
capacity, as Class Repr'esentative, and as a Ciass Member. Ms. Palmer alleges that she is a
member of all three Classes as defined in paragraph l.10.

1.1'ir "Commercial So}icitation" means the unsolicited initiation of a telephone
conversation for the purpose of encouraging a person to purchase property, goods, or services

1.18 "Colnmon Fund" means the amount described in Section lV below.

1.19 "Complaint" means the Ainended Cemplaint for Damages, Injunctive, and
Declaratory Relief, Doeket No. 10, filed in this Action on September 2, 2009.

1.20 "Court" means the U.S. District Court for the Western District of Washington.

1.21 "Court Disapproval" means that the Court in this Action or any other court on

appeal (a) disapproves, sets aside, or modifies this Settlement Agreement; (b) declines for any

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reason to enter or give effect to the Preliminary Approval and Seheduling Order or the ludgment
and Order of Final Approval; or (c) holds that the Judgment and Order of Final Approval or any
related judgment should be overturned or modified in any material way.

1.22 "C_V Pres Fund" means any amount remaining in the Connnon Funcl after the
payments described in Section X below, payments for class action administration, class notice,
class representative payment, and attorneys‘ fees and costs as approved and awarded by the Court
are made.

1.23 "Defendant" or "Sprint" means Sprint Solutions, Inc. and any of its Related
Parties, which are the past, present, and future directors, officers, employees, partners, principals,
agents, shareholders, attorneys, accountants, auditors, advisors, consultants, personal or legal
representatives, tenants, households, predecessors, successors, parents, subsidiaries, affiliates,
divisions, joint ventures, heirs, assigns, or related or affiliated entities of Sprint Solutions, Inc,
including Sprint Nextel Corporation and all its direct or indirect operating subsidiaries, and all
other subsidiaries, and its affiliates offering Sprint Nextel wireless service under a brand owned
directly or indirectly by Sprint Nextel Corporation, offering wireless service in the United States.

1.24 "Defendant's Counsel" means the law firm ofPerkins Coie LLP.

1.25 "Effective Date" means the date by which all of the following have oecurred:

a. The Parties have agreed upon the Settlement Agreement;

b. The Parties have submitted to the Court and the Court has entered the
foilowing: (a) the Preliminary Approval and Scheduling Order materially
identical to the attached Exhibit 2, and (b) the .ludgment and Order of
Final Approval materially identical to the attached Exhibit 3;

c. The Parties have not exercised the Termination Right in Section Xl below;
and
cl. The Judgment has become final and is no longer subject to appeal or

review, which shall be deemed to occur on the later of the following:
(i) if no appeal or other form of appellate review of the Judgrnent has been
sought by any Person, the thirty-first day after the time for the filing of the
notice of appeal has commenced to run under Fed. R. App. Pro. 3, taking
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into consideration the making of any post-judgment motions and the
granting of any extensions of time to make the same under Fed. R. Civ.
Proc. 60(c); or (ii) if an appeal or other form of appellate review is sought
from the Judgment, iive days after the date on which the affirmance of
such Judgment, or the dismissal, reversal or denial of such appeal or
review, has become no longer subject to further judicial review, whether
by re-hearing, re-hearing en banc, writ of certiorari, writ of mandarnus,
writ of prohibition, reconsider'ation, petition for review, or otherwise

1.26 "Escrow Account" means an interest-bearing trust account designated by the
Claims Administrator to hold the Comrnon Fund as described in paragraph 4.1.

1.27 "Final Settlement Hearing" means the court hearing scheduled under the
Preliminaiy Approval and Scheduling Order to consider the final approval of this Settlement
Agreement and entry of the Judgment and Order of Final Approval.

1.28 "Instructions for Clairn Form and Release" or "Instructions" means the
instructions which will appear on the Clairn Form and Release, which is attached as Exhibit 1.

1.29 "Internal Do-Not-Cali List" means the Sprint-specific do-not-call list that tracks
customers and non-customers who have asked Sprint not to call them for telemarketing purposes

1.30 "Judgment and Order of Final Approval" or "Judgment" means a judgment
materially identical to the attached Exhibit 3 and as described in Section IX below.

1.31 "Notice of Class Action Settlernent and Fairness Heal'ing" means the short
form notice materially identical to the attached Exhibit 4 and the long form notice materially
identical to the attached Exhibit 5 and as described in Section VII below.

1.32 "Notice Procednres" means the procedures in Section Vll below.

1.33 "Ol)j ection Deadlille" is 30 days before the Final Settlement Hearing.

1.34 "Palrner" or "Ms. Palmer" means Sandra L. Palmer, the plaintiff in the Aetion,
who is also the Class Representative.

1.35 "Party" or "Parties" mean, individually and collectively, the Class

Representative, Class Members, Class Counsel, Defendant, and Defendant's Counsel.

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1.36 "Payment to the Class Representativc" means a single payment of 320,000
from the Comrnon Fund to the Class Representative.

1.37 "Paylnent Protocol" means the criteria developed by the Parties regarding Class
Member eligibility for payments from the Common Fund and the rules by which the Claims
Administrator will administer and make payments from the Common Fund, as set forth in
Exhibit 7.

1.38 "Person" means an individual, corporation (including all divisions and
subsidiaries tlrereof), partnership, limited partnership, limited liability company, association,
joint stock company, estate, legal representative, trust, unincorporated association, government
or any political subdivision or agency thereof, and any business or legal entity and the spouses,
heirs, predecessors, suecessors, representatives, or assigns of any of thcm.

1.39 "Preliminary Approvai and Sclleduling Order" means a court order materially
identical to the attached Exlril)it 2 and discussed in Section VI.

1.40 "Pre-recorded Identification Message" means a pre-recorded message played
by Sprint or its agent to identify Sprint as the party making a telemarketing call when it dials or
dialed a telephone number and a person answered the call, but Sprint or its agent is or was unable
to connect the call to a live telemarketing agent within two seconds of the recipient answering
the call. Federal regulations require Sprint or its agent to play this message under these
circumstances The substance cf this message is: "Hi, this is a message from Sprint Nextel. We
attempted to contact you for telcmarketing purposes You may contact us regarding this call, or
if you don't wish to be contacted in the future, at 1-866-463-3021. Thank you."

1.41 "Rclatcd Party" and "Relatcd Parties" means, individually and collectively,
the past, present and future directors, officers, ernployees, partners, principals, agents,
shareholder's, attorneys, accountants, auditors, advisors, consultants, personal or legal
representatives, tenants, households, predecessors, successors, parents, subsidiaries, affiliates,

divisions, joint ventures, heirs, assigns and!or related or affiliated entities of any Party.

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1.42 "Released Claims" means any and all claims (including Unknown Claims as
defined in paragraph 1.47 below}, causes of action, rights, liabilities, complaints before or to a
regulatory or governmental body, suits, and obligations of every nature, kind or description
whatsoever regardless of upon what legal theory based, and regardless of whether grounded in
common law, statute, administrative rule or regulation, tariff, contract, tort, equity or otherwise,
related to claims or causes of action arising out of the delivery ofpre-reeorded commercial
solicitation messages; the use of automatic dialing and announcing devices, predictive dialers, or
automatic telephone dialing systenrs; the placing or delivery of telephone solicitations; or the
maintenance of an internal Do Not Call list under the Washington Automatic Dialing and
Announcing Devicc statute, the Washington Telephone Solieitation Statute, the Washington
Consumer Protection Act, the federal Telephone Consumer Protection Act, and any other statute,
which a Releasing Party had, has, may have, or which any other Person had, has, or may have
through a Releasing Party (whetlrer by operation of law, assignment, or subrogation) against a
Released Party from the beginning of time through the Effective Date, based in whole or in part
upon any act, omission, transaction, thing, matter, event or occurrence occurring or arising from
thc beginning of time through the Effective Date, or any consequence, effect, or result arising
from any such act or omission, regardless of whether such consequence, effect, or result arises
before or after the Effective Date (including, but not limited to, unknown injuries or unknown
complications from known injuries) concerning any claim or allegation that has been or could
have been asserted in the Action. This does not include claims by non-Sprint customersl

1.43 "Released Party" means the Defendant and its Related Parties.

1.44 "Releasing Party" means, individually and collectively, the Class
Representative, Class Members, and their Related Parties, other than Class Members who have
duly and timely excluded themselves from the Classes under the procedures in Scction VII.

1.45 "Settlement Agreement" means, individually and collectively, this Class Action

Release and Settlement Agreement, including its terms, provisions, and exhibits; the settlement

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embodied by the Settlement Agreement, the Common Pund, Revisions to Identification Message,
Notice Procedures, Claims Procedurcs; and any order concerning this agreement or the
settlement embodied by this agreement including, but not limited to, the Preliminary Approval
and Scheduling Order and the Judgment and Order of Final Approval.

1.46 "Termination Rjght" is described in Section Xl, below.

1.47 "Unknown Claims" means any Released Claims that a Releasing Party does not
know or suspect to exist in his, her, or its favor now or as of the Effective Date. This includes
but is not limited to, claims, which, if known by him, her, or it, might have affected his, her, or
its settlement with, and release of, the Released Parties, and/or might have affected lris, her, or its
decision not to object to or request exclusion from this Settlement Agreemcnt. This includes
those Released Claims that were unknown, unsuspected, and undisclosed, or those Released
Claims that arise from facts discovered by a Releasing Party in addition to or different from
those that the Releasing Party or Releasing Parties now know or believe to be true with respect to
the subject matter of the Released Claims.

II. RECITALS

2.1 The Action was initiated on July 23, 2009 in the Supcrior Court of Washington
for King County. Sprint removed the matter under the Class Action Fairness Aet; Ms. Palmer
did not contest removal On September 2, 2009, Ms. Palmer filed an Amended Complaint for
Damages, Injunctive, and Deciaratory Relief, which is the operative complaint in the Action.

Ms. Palmer and Sprint stipulated to the filing cfa Sccond Arnended Complaint, but Ms. Palmer
never filed the Second Amended Complaint. Ms. Palmer also presented Sprint with a draft Third
Amended Complaint, which she also did not file or move to file.

2.2 Ms. Palmer has been a Sprint customer since 2003. She alleges that Sprint made
various telernarketing calls to her in 2006 and 2007 that used a prc-recorded solicitation message
or an automatic dialing and announcing device, some of which were made after she requested not

to receive telemarketing calls from Sprint.

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2.3 Based on these allegations, Ms. Palmer, the Class Representative, asserted claims
against Sprint under the Washington Automatic Dialing and Announcing Device statute, the
Washington Consumer Protection Aet, and the federal Telephone Consumer Protcction Act. fn
her proposed but unfiled Third Amended Complaint, the Class Reprcsentativc also asserted a
claim against Sprint under the Washington Telephone Solicitation Statute. The Class
Representative is seeking monetary, deelaratory, and injunctive relief.

2,4 Class Counsel have conducted a thorough investigation into the events underlying
the claims asserted by the Class Representative including, but not limited to, reviewing and
analyzing more than 2,500 pages of documents from Defendant and the vendor that Sprint used
in part to conduct the telemarketing campaign and that targeted the Class Representative and
other members of the Classes, propounding and reviewing responses to interrogatories and
requests for admission directed to Sprint, and subpoenaing and reviewing documents from the
Washington Attorney General Office, the Federal Communications Commission, and tire F ederal
Trade Commission.

2.5 Class Counsel and Defendant‘s Counsel have engaged in extensive telephonic and
in-person negotiations regarding this Settlement Agreemcnt. rl`he Class Representative and Class
Counsel believe that the allegations in the Complaint and their claims for relief have substantial
merit and that Defendant‘s defenses are without merit. The Class Representative and Class
Counsel continue to affirm the allegations in the Complaint but recognize that Defendant sharply
disputes their claims and that the ultimate outcome on the merits is uncertain The Class
Representative and Class Counsel have also considered the length and expense of continued
proceedings necessary to pursue the Action against the Defendant through trial and appeals.
Therefore, the Class Representative and Class Counsel desire to settle the Actions on the terms
and provisions in this Settlement Agreement and believe it is fair, reasonable, and adequate, and

in the best interests of the Class Representative and the Classes.

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2.6 Defendant believes that the allegations and claims in the Complaint are without
merit and that its defenses have substantial merit. Defendant has denied and continues to deny
the allegations in the Complaint Defendant has asserted and continues to assert that the claims
in the Complaint are inappropriate for class certification and that numerous individual issues
predominate. Defendant, however, also recognizes that the Class Representative sharply
disputes its defenses and that the ultimate outcome on the merits is uncertain Defendant has
also considered the length and expense of` continued proceedings necessary to pursue the Aetion
against the Class Representative through trial and appeals Defendant is entering into this
Settlement Agreement solely to avoid the continuing additional expenses, inconvenience, and
distraction of the Aetion, without admitting any wrongdoing or liability and without waiving any
defense or argument that it did or could have asserted in the Action. By doing so, Defendant
desires to settle, comproinise, and terminate with prejudice the Action and to put to rest forever
all claims which have or could have been asserted, or which arise from or in any Way concern the
act, facts, transactions, oecurrences, representations, or omissions alleged in the Complaintl

2.7 Despite its assertions that the claims in the Complaint are inappropriate for class
certification and that numerous individual issues predoniinate, Defendant stipulates for the
purposes of this Settlement Agreement to the definition of the Classes in paragraph l.10 above;
to Ms. Palmer serving as the Class Representative as defined in paragraph l.15 above for the
Class Mernbers; and to Class Counsel as defined in paragraph l.lZ above serving as counsel to
the Classes.

2.8 Defendant waives any and all objection to the Attorneys‘ Fees and Costs Award
and Payment to the Class Representative as set forth above. Defendant acknowledges that the
amount of the Attorneys' Fees and Cost Award is intended to reflect the reasonable and fair

amount of attomeys‘ fees, expenses, and costs related to this Settlement Agreeincnt.

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III. SETTLEMENT PURPOSES ONLY
3.1 Rule 408 of the Federal Rules of Evidence and the Washington Evidenee Code,

and similar provisions govern this Settlemcnt Agreement. lt is for settlement purposes only.
Neither the fact of, nor any term or provision contained in, this Settlement Agreement or its
exhibits, nor any action taken under it shall eonstitute, be construed as, or be admissible in
evidence as (l) any admission of the validity of any claim or fact alleged by the Class
Representative and the Classes in this Action or any other pending or subsequently filed aetion;
(2) evidence of any wrongdoing, fault, violation of law, or liability of any kind by the
Defendant; (3) an admission by Defendant of any claim or allegation made in this Action or
any action; nor (4) admission by the Class Representative, Class Members, or Class Counsel of`
the validity of any fact or defense asserted against them in the Action or any aetion.

IV. COMMON FUND AND IDENTIFICATION MESSAGE REVISION

4.1 ln consideration for the dismissal of the Action with prejudice and the Releases
in Section V, Defendant agrees that within ten days after the Effective Date, it shall deposit a
total of five and one-half million dollars ($5,500,000.00) into the Eserow Account for the
benefit of the Class Members, Class Representative, and Class Counsel, less any amounts that
have already been deposited into the Escrow Aecount for the purposes described in Sections
4.2(a) and (b). This will be known as the Common Fund and, from the time of the deposit by
Sprint, the Claim Adrninistrator will be solely responsible for administering the Common Fund
under this section and the Payment Protoeol. Any interest generated from the Common Fund
shall remain in the Common Fund and the Escrow Aecount to be distributed consistent with
this Settlement Agreement.

4.2 The Common Fund shall be distributed as follows:

a. First, to pay the cost of the Notice of Class Aetion Settlernent and Finai
Settlement Hearing distributed according to Section Vll, except for
Sprint's costs for notifying current customers via billing inserts or billing
mailers, which Sprint will independently pay;

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(No. 09-cv~01211 JLR) ~ 11 seamc, wa oster-3099
Phone: 206.359.3090

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b. Second, to pay Claims Administration Costs;
c, Third, to pay the Payment to the Class Representative;
d. Fourth, to pay the Attorneys Fees' and Costs Award;

e. Fifth, to Class Members who make valid claims as specified under the
Payment Protocol, and

f. Sixth, any amount in the Escrow Account after paying valid claims and
other payments as described above shall be a Cy Pres F`und, which shall
be donated to the Legal Aid for Washington Fund. This Cy Pres Fund
shall not be unclaimed property under the laws of Washington or any
other state.

4.3 No right, title, or interest in the Common Fund transfers until the Effective Date,
and any such right, title, or interest is subject to Sprint's right of reversion. Sprint shall pay no
additional funds under this Settlement Agreement, except for its internal costs of notice as
described above.

4.4 ln addition, in consideration for the dismissal of this Action with prejudice and
the Releases in Section V, Defendant agrees that within ten days after the Effective Date, it
shall discontinue using the current version of the pre-recorded message heard when a consumer
calls the toll-free number left by the pre-recorded identification message and instead replace the
message with a message materially identical in language and meaning to the script attached as

Exhibit 6.
V. RELEASED CLAIMS

5.1 This Settlement shall be the sole and exclusive remedy for any and all Released
Claims against the Released Party and its Related Parties. The Class Representative and each
Class Member (and each of their Related Parties) shall be permanently barred from initiating,
asserting, or prosecuting Released Claims or any claims released under this Agreement.

5.2 On entry of the Judgment, the Class Representative, for herself and as the Class
Representative (and her Related Parties), without any other action, fully, finally, and forever
releases, relinquishes, and discharges the Released Party from the Released Claims. Without

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limiting the breadth of this release, the Class Members (and their Related Parties) who did not

validly request exclusion from the Classes, regardless of whether the Class Meml)ers received a
payment from the Common Fund or executed and delivered the Claim Form and Release, on
behalf of themselves and their Related Parties, without any further action, shall be deemed to
have fully, finally, and forever released, relinquished and discharged the Released Party from
the Released Claims and, by operation of the Judgment, all of the Released Claims that any
Releasing Party has cr had against the Released Party shall be dismissed with prejudice

5.3 Without suggesting or agreeing that the California Civil Code would apply to
this release, the Releasing Parties expressly waive and release, entire Effective Date, any and
all provisions, rights, and benefits conferred by Section 1542 of the California Civil Code

which provides:

Section 1542. Certain Claims Not Affected by General Release.

A general release does not extend to claims which the creditor does
not know or suspect to exist in his favor at the time of executing
the release, which if known by him must have materially affected
his settlement with the debtor.

Releasing Parties also expressly waive and release any and all provisions, rights, and benefits
conferred on them by a statute, regulations, or ordinances of any other jurisdiction which has a
statutory provision similar to Section 1542.
VI. PRELIMINARY APPROVAL AND SCHE])ULING ORDER

6.1 As soon as reasonably practicable after executing this Agreement, Class Counsel
and Defendant's Counsel shall jointly: (l) file the Settlement Agreement, including the attached
exhibits, with the Court; (2) file a joint motion for preliminary approval of the Settlement
Agreement with the Court; and (3) notify the Court of the filings and request entry by the
Coutt, on the earliest date acceptable to the Court, of the Preliminary Approval and Scheduling

Order, which shall be materially identical to the proposed order attached as Exhibit 2.

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6.2 Within 10 days of this joint filing, Defendant shall provide the CAFA
Notification to the Appropriate State officials (as defined under the relevant statute) for each
state in which a Class Membcr resides and to the Appropriate Federal official (as defined under
the relevant statute).

VII. NOTICE PROCEDURES AND CLASS MEMBER EXCLUSION

7 .1 After the Court enters the Preliminary Approval and Seheduling Order, the
Claims Administrator will provide published Notice to the Classes by a form materially
identical to the Notice of Class Action Settlement and Final Settlement Hearing attached as
Exhibit 4, and in accordance with the publication plan described in the Declaration of Jeanne
Finegan being filed with the Joint Motion for Preliminary Approval. The Claims Administrator

will provide this short form Notice according to the parties‘ Notice plan not later than 70 days

after the Order Granting Preliminary Approval of the Settlement is entered. The Claims

Administrator will also provide notice by email to former Sprint customers and by mail to any
Class Members identified by Sprint.

7.2 In addition, Sprint will provide a form materially identical to the Notice of Class
Action Settlement and Final Settlement I-Iearing, attached as Exhibit 4, as a billing insert or
billing addition to all of Sprint‘s current customers Sprint will provide this Notice not later
than 70 days after the Order Granting Prelimina.1y Approval of the Settlement is entered Sprint
does not have any additional duty to ascertain the identities or addresses of Class Meml)ers.

7.3 Each of the published Notice, individual mailings, emails, and billing insert will
refer potential Class Members to a website created and maintained by the Claims Administrator
that will provide additional information about the settlement, including'the long form Notice,
attached as Exhibit 5, and permit Class Members to make claims by completing an on-iine
claim forrn. The published Notice and billing insert will also provide Class Members with a
telephone number, provided and maintained by the Claims Administrator for Class Members,

to call for more information and to request a claim form or the long form Notice.

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7.4 A Class Member can request in writing to be excluded from the Class by
mailing a letter to the Claims Adrninistrator that is postmarked at least 30 days prior to the date
scheduled by the Court for the Final Settlement Hearing.

7.5 At least fourteen days before the Final Settlement Hearing, Class Counsel will
provide a declaration of the Claims Administrator to the Court, with a copy to Defendant's
Counsel, attesting that the Claims Administrator disseminated the Notice consistent with this
Settlement Agreement and detailing any written requests to be excluded from the Class.

7.6 Also at least 14 days before the Final Settlement Hearing, Sprint will provide a
declaration to the Court, with a copy to Class Counsel, attesting that it disseminated Notice
consistent with this Settlement Agreement.

7.7 Not later than 70 days from the date the Court enters the Preliminaiy Approval
and Seheduling Order, Class Counsel shall cause to be posted on the website created and
maintained by the Claims Administrator their Petition for Approval of Attorneys' Fees and
Costs that they will request the Court award them. The Petition will include documentation of
all hours worked on this case by Class Counsel and will state that it will be updated as part of
Class Counsel's memorandum to be filed in support of the Final Order and Judgment, which
shall be filed no later than ten days before the Final Settlement Hearing.

VlII. OB.]ECTING TO THE SETTLEMENT

8.1 Any Class Member other than the Class Representative may object to this

Settlement Agreement and to Class Counsel's request for attorneys' fees and costs by

complying with the following procedures:

a. By the Objection Deadline, the Class Member must notify in writing the
Court, Class Counsel, and Defendant's Counsel of his or her intent to
appear at the Final Settlement Hearing and object

b. The objecting Class Member's written objection must include:

(1) A heading referring to the Action as "Srmdra L. Palmer v. Sprint
Solutious, IHC., Case No. 09-cv-0121l JLR";

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(2) A statement of the Class Mcmber's specific objection(s) to any
matter before the Court relating to proposed approval of the class
action settlement in this Action;

(3) If the Class Member wants to appear at the Final Settlement
Hearing, a statement that he or she intends to appear, and the
grounds or specific reasons why the Class Member wants to
appear and be heard;

(4) Any documents or statements the Class Member wants the Court
to consider at the Final Settlement Hearing; and

(5) If the Class Member is represented by counsel, the counsel's
name, address, and telephone number. If a Class Member hires
an attorney, the attorney must file a notice of appearance with the
Clerk of the Court and deliver a copy of this filing to Class
Counsel and Defendant‘s Counsel before the Objection Deadline.

8.2 If an objection does not provide all the information listed in paragraph 8. l(b), is
received after the Objection Deadline, or is not timely received at the correct addresses for
Class Counsel and Defendant's Counsel by the Objection Deadline, it shall be invalid and will
not be considered A Class Member who complies with the requirements in paragraph 8.1 may
appear pro se at the Finai Settlement Hearing or may enter an appearance at the Final
Settlement Hearing through counsel of his or her own choosing and at his or her own expense.

8.3 The Class Representative agrees that (1) the Settlement Agreemcnt is fair and
reasonable to the Classes and the Class Representative in her individual capacity, her capacity
as a Class Member and as Class Representative, and (2) she does not and will not object to the
Settlement Agreement and waives any right she may have had to do so.

IX. FINAL SETTLEMENT HEARING AND .]U])GMENT

9.1 At the Final Settlement Hearing, the Parties shall apply to the Court for ently of

the Judgment and Order of Final Approval materially identical to the attached Exhibit 3 and

providing the foilowing:

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h.

Declaring that the Judgment binds all Class Members other than these
who filed valid and timely requests for exclusion under paragraph 7.4;

Finally approving this Settlement Agreement and finding its terms to be
fair, reasonable, and adequate, and directing that the procedures for
creating the Common Fund and Claims Administration begin;

Approving the Payment to the Class Representative and the Attorneys'
Fees and Expenses Award;

Approving the Notice Procedures described in Section Vll and the
Claims Procedures in Section X and finding that the notice procedures
complied with the United States Constitution, the Washington State
Constitution, and any other applicable laws or rules;

Directing the Claims Administrator to administer the Claims according
to Section X of the Settlement Agreement and the Payment Protocol;

Dismissing the Complaint on the merits with prejudice;

Permanently barring the Class Representative and her Related Parties
and all Class Members and their Related Parties, other than those who
filed valid and timely requests for exclusion under paragraph 7.4, from
asserting or prosecuting any claims against the Released Parties on any
of the Released Clairns;

Declaring that the Class Representative and her Related Parties, without
any further aetion, fully, finally and forever release, relinquish, and
discharge the Released Parties from the Released Claims, and that,
without limiting the breadth of this release, the Class Members and their
Related Parties who did not validly request exclusion from the Class,
regardless of whether the Class Members received a payment from the
Common Fund or execute and deliver the Claim Form and Release, on
behalf of themselves and their Related Parties, without any further
action, shall be deemed to have fully, finally, and forever released,
rclinquished, and discharged the Released Party from the Released
Claims and, by operation of the Judgment, all of the Released Claims
that any Releasing Party has or had against the Released Party shall be
dismissed with prejudice;

Ordering the Defendant and the Class Representative, on behalf of
themselves and the Class, to assume responsibility for their own
respective attorneys' fees, expenscs, and costs, except for the Attorneys'
Fecs and Costs Award;

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j Stating that the Class Representatives, Classes, and Class Counsel shall
not and may not offer or seek to admit the Settlement Agreerncnt into
evidence or refer to it in any way (orally or in writing) in any proceeding
other than the Action andfor a proceeding involving an effort to enforce
the Settlement Agreernent, including, but not limited to, an effort to
enforce the release of the Released Claims;

k Stating that the Settlement Agreement shall have no precedential,
collateral estoppel, statute of` limitations or res judicata effect against
Defendant (or its respective Related Parties) in any matter or proceeding
other than this Action erin a proceeding involving an effort to enforce
the Settlement Agreement, including, but not limited, an effort to enforce
the release of the Released Claims;

l. Ordering the Claims Administrator, Defendant, Class Representative,
Classes, and Class Counsel to comply with the Claims Procedures
described in Section X; and

m. Retaining continuing and exclusive jurisdiction to enforce the terms of
this Agreement and the Claims Procedures described in Section X.

9.2 Memoranda in support of the request for entry of Judgment and Order of Final

Appreval shall be filed no later than 10 days before the Final Settlement Hearing.
X. CLAIMS PROCEDURES

10.1 The Claims Adrninistrator will provide an on-line claim form with instructions
that can be completed by a Class Membcr at the website referenced in paragraph 7.3, infra, and
also will mail upon request an original Claim Form, attached as Exhibit l, which will include
its instructions to Class Members with the Notice ofthe Settlement as described in
paragraph 7.l above.

10.2 Neither Defendant nor the Claims Adrninistrator shall have any obligation to
provide the Notice of the Settlement, the lnstructions, and the Claim Form to any member of
the Class in any manner other than as described in paragraphs 7.1 through 7.3 above.

10.3 Members of the Classes must timely submit a properly cempleted, signed, and
postmarked original Claim Form er a completed online Claim Form to make a claim under this

Settlement The form submitted must be the original Claim Form attached at Exhibit l.

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Phone: 206.359.3000

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10.4 Class Members must postmark a hard copy completed Claim Form or submit a
complete online Claim Fol‘m before the Claims Deadline, which as defined above, is 30 days
after the Final Settlement Hearing. No Pcrson may make a claim to, or receive any monetary
compensation under this Settlement Agreement, unless the Person is a Class Claimant and
complies with these Claims Procedures.

10.5 A submitted Claim Form must satisfy the following conditions to be valid:

(l) the Claim Form must provide all the information requested; (2) the Claim Fonn (and the
included Release of Claims) must be duly executed and dated by the Class Member submitting
the Claim Form; (3) if the Person executing the Claim Form is acting in a representative
capacity because the Class Member is incapacitated, the Claim Form must be accompanied by
a statement or other documentation affirming the authority of that Person to acton behalf of,
and to bind, the Class Member; and (4) the completed Claim Form must be postmarked or
submitted online no later than the Claims Deadline. lf a mailed Claim Form is not dated, but
the envelope in which the Claim Form was mailed to the Claims Administrator has a valid and
readable postmark, then the Claim Forrn will not be rejected for lack of a date.

10.6 A Class Member may not assign or otherwise transfer to any other Person the
right to make a claim under the Settlement Agreement in this Aetion.

1(}.7 Once received by the Claims Administrator, a Claim Form shall be deemed
submitted to the Claims Administrator in accordance with these provisions if mailed by first
class U‘S. Mail and postmarked with a date on or before the Claims Deadline.

10.8 By submitting a Claim Form, each Class Claimant submits himself, herself, or
itself to the jurisdiction of the Court for the purpose of asserting a claim to monetaiy
compensation under the Settlement Agreement in this Action, and each Claim Form will be
subject to examination, investigation, and final determination by the Claims Administrator as to

a Class Claimant‘s entitlement to monetary compensation under this Settlement Agreement.

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10.9 The Claims Adrninistrator' will review each properly and timely submitted Claim
Form and the amount of monetary compensation, if any, will be deterrnined, in good faith, by
the Claims Administrator according to the Payment Protocol.

10.10 Bef`ore processing the Claim Forrns, Class Counsel and Defendant's Counsel
shall have an opportunity to review the processes developed by the Claims Administrator for
administering the Claims Procedures.

10.11 The Claims Adnrinistrator shall report to Class Counsel and Defendant's
Counsel on a reasonable basis regarding the progress of claims review and administrationl

10.12 lf any issue arises regarding whether or the extent to which a Class Claimant is
entitled to monetary compensation under this Settlement Agreement, Defendant and Class
Counsel shall make every effort to resolve the matter by agreement and in good faith under the
Payment Pr'otocol. If Defendant and Class Counsel are unable to resolve the matter by
agreement, Defendants or Class Counsel may request that the Court resolve the matter.

10.13 Under no circumstances shall Defendant, its Related Parties, the Claims
Administrator, its authorized agents, or any person afiliated with Defendant or acting on
Defendant‘s behalf have any liability to a Class Member relating to the performance of the
duties of claims review and administration required under this Settlement Agreement and the
Judgment, except as expressly provided in this Settlement Agreement. No Person, including
the Class Representative and members of the Classes, shall be permitted to commence a cause
of action regarding such matters. Any issue regarding the performance by Defendant and/or
the Claims Administrator of duties under this Settlement Agreement or the Judgrnent may be
raised only by motion to the Court under its continuing and exclusive jurisdiction over the
Action.

10.14 Initial Eligibility Rules: To be eligible for monetary compensation under this
Settlement Agreement, a Class Claimant must be a Class Member and meet the criteria

specified in the Payment Protocol.

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10.15 lf the Claims Administrator determines that a Class Claimant satisfies the
criteria specified in the Payment Pr'otocol, their the Claims Administrator shall determine
whether the Class Claimant is entitled to monetary compensation under the Settlement based on
the rules in the Payment Protocol.

XI. TERMINATION RIGHT

11.1 Except if Defendant, Class Repr'esentative, or Class Counsel exercises this
Termination Right, this Settlement Agreement may be terminated only by the written, mutual
agreement of the Class Representative, Class Counsel, and Defendant.

11.2 Defendant, in its sole and absolute discretion, or the Class Representative and
Class Counsel, in their sole and absolute discretion, shall have the option to terminate this
Settlement Agreement by giving written notice to the other Party and the Court at any time

before the Effectivc Date if any one or more of the following occurs:

a. The Court does not enter the Preliminary Approval and Seheduling
Order identical to the attached Exhibit 2, unless the Parties agree
otherwise; or

b. The Court does not enter the .ludgrnent identical to the attached
Exhibit 3, unless the Parties agree otherwise; or

c. There is a Court Disapproval, or any court in any way:

(i) Changes, modifies, reverses, vacates, or orders such changes or
modification of the Preliminary Approval and Seheduling Order,
the Notice, the Notice Procedurcs, the Claims Pr'ocedures, and/or
the Judgrnent, regardless of the materiality of the change or
modification; or

(ii) Makes any other change or modification or orders any other
change or modification that would result in a change or
modification of the Settlement Agreement, regardless of the
materiality of the change or modification, unless the Parties agree
otherwise; or

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d. Any court in any way changes or modifies the payments or other forms
of compensation under this Settlement Agreement, including, but not
limited to, the amount of the Attorneys' Fees and Costs Award', or

e. The Effective Date does not occur within 365 days after the Parties first
file this Settlement Agreement with the Court.

11.3 The Parties intend for the Termination Right to be exercised in good faith and
only in the event of material changes or modifications to this Settlement Agreement.

11.4 If a Party terminates this Settlement Agr'eement, it shall become null and void,
and it and all negotiations and proceedings relating to it shall be without prejudice to the rights
of any and all the Parties, who shall be restored to their respective positions existing before the
execution of this Settlement Agreement, except that all deadlines in the Action shall be reset.
Also, the terms and provisions of this Settlement Agreement, except this paragraph and any
other paragraph that states that it shall survive termination or Court Disapproval, shall have no
further force and effect with respect to the Parties and shall not be used or referred to in the
Action or in any other proceeding for any purpose. Any judgment or order entered by the
Court under this Agreement (except for the Preliminary Approval and Seheduling Order that
vacated any deadlines in the Action) shall be treated as vacated, nunc pro trmc.

XII. MISCELLANEOUS PROVISIONS

12.1 Statement of Cempromise. Each Party acknowledges and stipulates that the
compromise and settlement forming the basis of this Settlement Agreement have been arrived
at after thorough bargaining and negotiation and represent a final mutually agreeable
compromise of these matters. Class Representative and Class Counsel further acknowledge
that they may later discover facts in addition to or different from those which they now know or
believe to be true with respect to matters encompassed by the Action or this Settlement
Agreement, but that it is the intention of each Party to fully, finally, and forever settle the
matters provided by this Settlement Agreement, notwithstanding the discovery or existence of

any such additional or different facts.

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Phone: 206,359.8000

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12.2. Effect of Court Disapproval. in the event of a Court Disapproval, the Parties
shall use their best efforts to repair deficiencies to obtain Court approval ri`hese best efforts
shall not require Sprint to pay any sums other than those provided in this Settlement
Agreement. In the event these best efforts are unsuccessful, 60 days after the Court
Disapproval, this Settlement Agreement shall become null and void, and the Action shall revert
to its status immediately before the execution of this Settlement Agreement. If that happens,
the Parties shall jointly move that any and all orders entered under to this Settlement
Agreement be vacated and shall proceed with the Aetion as if this Settlement Agreement had
never been executed If, however, the Parties, within 15 days of Court Disapproval jointly elect
to appeal or seek review of the Court Disapproval, this Settlement Agreement shall not be null
and void until the Court Disapproval becomes final after the Par'ties‘ appeal or request for
review results in a reversal, withdrawal, or overturning of the Court Disapproval. lf the
Settlement Agreement is determined to be null and void, the Parties shall not refer to the fact
and terms of this Settlement Agreement to establish liability or support the Parties' substantive
positions in the Action, and any and all funds paid, less actual expenses incurred by the Claims
Administrator, shall be returned to Sprint.

12.3 Washington Law. The rights and obligations of the Parties are to be construed,
interpreted, and enforced solely according to the laws of the State of Washington without
giving effect to any conflict of laws principles. The Parties agree that any judicial proceeding
arising out of or resulting from this Settlement Agreement or its breach shall be filed only in
the U.S. District Court for the Western District of Washington in Seattle.

12.4 Exccution in Counterparts. This Agreemth may be executed in one or more
counterparts and delivered by facsimile or email to counsel. All executed counterparts,
including those delivered by facsimile or email, shall be deemed to be one and the same

instrument A facsimile or email copy shall be considered an original for all purposes

P rra c ' LLP
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12.5 No Admission. The Parties specifically understand and stipulate that
(l) nothing in this Settlement Agreement or in its negotiation are an admission by any of the
Parties or Released Parties for any pnrpose, and (2) the Parties and the Released Parties all
deny liability for the allegations in the Action. Plaintiff also understands that this Settlement
Agreement has been made for business reasons. Nothing in this Settlement Agreement is to be
construed as Sprint agreeing that this case ivas appropriate for class action status or
certification. This provision shall survive the termination or voiding of the Settlement
Agreement.

12.6 Modifications Only in Writing and Authorization of Class Counsel, This
Settlement Agreement may be amended or modified only in writing and signed by all Parties
(or their assignees or successors-in-interest), Class Counsel, and Defendant's Counsel, except
that Plaintiff, individually and as Class Representative, expressly authorizes Class Counsel to
(l) take all appropriate actions required or permitted by the Class under this Settlement
Agreement, and (2) enter into modifications or amendments on behalf of the Class as Class
Counsel deem appropriate. This Settlement Agreement reflects the entire agreement of
Plaintiff, the Classes, and Sprint and supersedes all other oral statements or written documents

12.7 Integrated Agreement. The attached Exhibits are material parts of this
Settlement Agreement and are fully incorporated by reference This Settlement Agreement and
its Exhibits are the entire, fully integrated agreement among the Parties and supersedes all other
written and unwritten agreements and understandings regarding settlement of the Action.

12.8 Severability. If any part of this Settlement Agreement is, for any reason, held
illegal, invalid, or unenforceable, it shall not affect any other part of this Settlement Agreement
and this Settlement Agreement shall be construed and enforced as if the illegai, invalid, or
unenforceable part had not been contained in the Settlement Agreement.

12.9 Legal Representation. The Parties acknowledge that they have been

represented by qualified legal counsel in connection with the Action and the negotiation,

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drafting, and execution of the Settlement Agreement. The language used in this Settlement
Agreement is language chosen by all Parties to express their mutual intent, and no rule of strict
construction against any Party will apply to any part of this Agreement.

12.10 Approval I’rocedure. The Parties reserve the right, by agreement and subject
to the Court‘s approval, to grant reasonable extensions of time that might be necessary to carry
out this Settlement Agreement. All applications for Court approval or orders required under
this Settlement Agreement shall be made on notice to Class Counsel and Defendant's Counsel,

12.11 Court Jurisdiction. This Settlement Agreement and its administration shall be
under the authority of the Court, which shall retain jurisdiction to protect, preserve, and
implement the Settlement Agreement, including, but not limited to, the Release. The Court
expressly retains jurisdiction to enter orders as may be necessary for administering and
implementing the Settlement Agr‘ecment, including, but not limited to, orders enjoining Class
Members from prosecuting or otherwise pursuing Released Clairns.

12.12 litigation Expenses. Each of the Partiesshall bear his, her, or its own expenses
related to the Action, except as otherwise provided in this Settlement Agreement.

12.13 Cooperation and Commerciall_v Reasonable Efforts. The Parties agree to
cooperate in executing documents and pleadings reasonably necessary to obtain approval of
and to implement this Settlement Agreement. The Parties also agree to use commercially
reasonable efforts to perform all terms of this Agreement.

1234 Counting Days. Unless otherwise noted, all periods of time in this Settlement
Agreement are calendar days, not business days. If a period of time in this Agreement expires
on a weekend or legal holiday, the period shall be extended to the next business day.

12.15 Effeetive Datc of the Agreement. This Settlement Agreement has been

executed by the Parties below, but is deemed entered into as of the date set forth below.

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12.16 Unent`ol'eeable Until Fult Executicn. This Settlement Agreement is not

enforceable until executed by each ofthe Parties below.

The parties enter into this Settlement Agreernent this day of , 2011,

SANDRA L. PALMER SPRINT SOLUTIONS, INC.

MM_ By:

'I`itle: Vice-Prcsident Customer Experience,
Telesales & Base Management Outreach

 

Jeny B. Adriano

P kh C[ LLP
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Case 2:09-cV-01211-.]LR Document 61-1 Filed 04/19/11 Page 30 of 30

12.16 Unenforceable Until Full Execution. This Settlement Agreement is not

enforceable until executed by each cf the Parties below.

th
'l`he parties enter into this Settlement Agreement this l 3 day of A- |_O_ ft l , 20i l.

 

 

SANDRA L. PALMER SPRINT SOLUTIONS, INC.
By: QJ… 3 @l/‘~A~¢Mw
Jeriy B:!Adriano

Title: Vicc-President Customer Experience,
Telesales &. Basc Management Outreach

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